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                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA
                                      CIVIL MINUTES—GENERAL

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 Present: The Honorable            DOLLY M. GEE, UNITED STATES DISTRICT JUDGE

                  KANE TIEN                                                          NOT REPORTED
                  Deputy Clerk                                                        Court Reporter

    Attorneys Present for Plaintiff(s)                                     Attorneys Present for Defendant(s)
             None Present                                                            None Present

 Proceedings: IN CHAMBERS—ORDER RE DEFENDANT CTM BIOMEDICAL, LLC,
              BRYAN BANMAN, AND PABLO SEOANE’S MOTION TO DISMISS [68],
              DEFENDANT GARDNER ROGERS’ MOTION TO JOIN [69], AND
              DEFENDANT MIKE STUMPE’S MOTION TO JOIN [71]

        Before the Court is a Motion to Dismiss (“MTD”) four claims in Plaintiffs’ Second
 Amended Complaint (“SAC”) filed by Defendants Bryan Banman, CTM Biomedical, LLC
 (“CTM”), and Pablo Seoane. [Doc. # 68.] Before the Court also is Defendants Gardner Rogers’
 and Mike Stumpe’s separate motions to join the MTD as to two of the claims. [Doc. ## 69, 71.]
 The motions are fully briefed. [Doc. ## 75-80.]

        For the reasons set forth below, Rogers’ and Stumpe’s motions to join are GRANTED,
 and the MTD is GRANTED in part and DENIED in part.

                                            I.
                           FACTUAL AND PROCEDURAL BACKGROUND1

         The SAC is based on the same factual allegations as the FAC, and the Court need not
 repeat these allegations, which are summarized in the First MTD Order. First MTD Ord. at 1-10
 [Doc. # 60].2 As relevant here, in that Order, the Court dismissed Counts 1 and 2, for violation
 of the Racketeer Influenced and Corrupt Organizations (“RICO”) Act, 18 U.S.C. § 1962(c), and
 conspiracy to violate RICO, 18 U.S.C. § 1962(d), with leave to amend, for failure to identify a
 RICO enterprise. The following claims survived the MTD: violation of the Defendant Trade
 Secrets Act (“DTSA”), breach of contract, conversion, tortious interference with contract, and
 tortious interference with prospective economic advantage. Id. at 23.


         1
             The Court assumes the truth of Plaintiffs’ factual allegations in the SAC solely for the purpose of deciding
 the MTD.
         2
             All page references herein are to page numbers inserted by the CM/ECF system.

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        In the SAC, Plaintiffs amend the RICO and RICO conspiracy claims to be asserted only
 against Banman, Stumpe, Seoane, and Rogers (“RICO Defendants”), and assert that RICO
 Defendants’ common purpose as an association-in-fact was directing business from Skye to
 CTM and “funneling unlawful sums of money to themselves.” SAC at ¶¶ 141, 143.

        Additionally, the SAC adds two causes of action against Banman for breach of fiduciary
 duty and breach of duty of loyalty. Plaintiffs allege that Banman was Skye’s Senior Vice
 President of Business Development, responsible for maintaining and growing sales at Skye.
 SAC at ¶ 226. As a Skye employee, Banman was subject to the Skye Orthobiologics, LLC
 Employee Confidentiality Agreement (“Skye Confidentiality Agreement”), which prevented
 Banman from engaging with a competing business. Id.; see also SAC, Ex. D at ¶ 10. Skye
 placed trust in Banman during his tenure at the company. Id. at ¶ 28. But Banman then used
 confidential product, customer, and pricing information in order to contact Skye customers with
 competitive pricing options and interfere with Skye’s relationships with doctors and with its own
 employees. Id. at ¶¶ 77, 136-37.

                                                   II.
                                               DISCUSSION3

 A.      RICO claims

         Because the SAC does not allege material facts unique to Stumpe or Rogers as to the
 RICO claims, the Court GRANTS their respective motions to join in the MTD as to those
 claims.

         A private plaintiff may raise a claim under RICO if he is “injured in his business or
 property” because the defendant violated one of RICO’s criminal provisions set forth in 18
 U.S.C. § 1962. Hemi Grp., LLC v. City of New York, 559 U.S. 1, 6 (2010) (quoting 18 U.S.C. §
 1964(c)). RICO Section 1962(c) makes it “unlawful for any person employed by or associated
 with” an enterprise engaged in or affecting interstate commerce “to conduct or participate,
 directly or indirectly, in the conduct of such enterprise’s affairs through a pattern of racketeering
 activity.” 18 U.S.C. § 1962(c). To state a claim under Section 1962(c), a plaintiff must allege:
 (1) conduct (2) of an enterprise (3) through a pattern (4) of racketeering activity. Odom v.
 Microsoft Corp., 486 F.3d 541, 547 (9th Cir. 2007) (citing Sedima, S.P.R.L. v. Imrex Co., Inc.,
 473 U.S. 479, 496 (1985)). Section 1962(d) prohibits conspiracy to violate subsections (a), (b),
 and (c). 18 U.S.C. § 1962(d).
         3
           The legal standard for a motion to dismiss under Rule 12(b)(6) is detailed in the First MTD Order and
 need not be repeated here. First MTD Ord. at 11-12.

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         As discussed in the First MTD Order, Plaintiffs have sufficiently pled “racketeering
 activity” under RICO via violations of the DTSA for misappropriating Skye’s product formulas
 and marketing, as well as pricing models, customer lists, and customer initiatives. First MTD
 Ord. at 16. The remaining contested elements are the existence of an enterprise, a pattern of
 racketeering activity, and whether each RICO Defendant participated in the conduct of the
 enterprise’s affairs, as well as whether Federal Rule of Civil Procedure 9(b) applies.

                 1.     Rule 9(b)

         As an initial matter, the Court rejects Defendants’ argument that Plaintiffs’ RICO claims
 are subject to the heightened pleading standard of Federal Rule of Civil Procedure 9(b). See
 MTD at 16-17. Unless the predicate acts alleged involve fraud, “RICO itself is not subject to
 Federal Rule of Civil Procedure 9(b)’s heightened pleading standards[.]” In re WellPoint, Inc.
 Out-of-Network UCR Rates Litig., 865 F. Supp. 2d 1002, 1036 (C.D. Cal. 2011). Plaintiffs do
 not allege any fraud claims or claims that “sound in fraud.” See Vess v. Ciba-Geigy Corp. USA,
 317 F.3d 1097, 1103 (9th Cir. 2003). Courts generally find trade secret misappropriation claims
 do not sound in fraud. See Hill Phoenix, Inc. v. Classic Refrigeration SoCal, Inc., No. CV 19-
 069 DOC (JDEx), 2019 WL 7172977, at *5-6 (C.D. Cal. Sept. 6, 2019); cf. Resolute Forest
 Prod., Inc. v. Greenpeace Int’l, 302 F. Supp. 3d. 1005, 1012 (N.D. Cal. 2017) (applying Rule
 9(b) to RICO predicate acts of mail and wire fraud); Tatung Co. v. Shu Tze Hsu, 43 F. Supp. 3d
 1036 (C.D. Cal. 2014) (applying Rule 9(b) to a unified course of fraudulent conduct including
 fraudulent accounting, fraudulent inducement, and other fraudulent transactions).

          The course of conduct here does not sound in fraud and, therefore, Rule 9(b) does not
 apply.

                 2.     Enterprise

         Plaintiffs allege that RICO Defendants Banman, Rogers, Stumpe, and Seoane constitute
 an enterprise either as an association-in-fact or via CTM itself. See SAC at ¶¶ 140-42. An
 enterprise must contain “at least three structural features: a purpose, relationships among those
 associated with the enterprise, and longevity sufficient to permit these associates to pursue the
 enterprise’s purpose.” Boyle v. United States, 556 U.S. 938, 946 (2009). The Court granted
 Defendants’ motion to dismiss Plaintiffs’ RICO claims in the FAC because the common purpose
 of “defrauding Plaintiffs” was not distinct enough from the predicate act of trade secret
 misappropriation. First MTD Ord. at 16.




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         Plaintiffs now allege that the RICO Defendants’ common goal was to “direct [Plaintiffs’]
 business to CTM” as well as to “funnel[] unlawful sums of money to [RICO Defendants]” in the
 form of commissions, profit, and equity. SAC at ¶ 143. The Court finds the assertion regarding
 “unlawful” sums of money to be a legal conclusion without adequate factual support in the SAC.
 See Ashcroft, 556 U.S. at 679 (“While legal conclusions can provide the framework of a
 complaint, they must be supported by factual allegations.”). But the core of Plaintiffs’ argument
 that RICO Defendants joined together to direct business away from Skye and to Banman’s new
 company, CTM, constitutes a common purpose separate and apart from its alleged pattern of
 trade secret misappropriation. Odom, 486 F.3d at 551.

          RICO Defendants argue that this common purpose cannot satisfy RICO’s requirement
 because it is CTM’s ordinary business activity. MTD at 12. For example, in a case asserting a
 common purpose between vehicle manufacturers and designers to conceal vehicle defects to
 increase sales, the court held that the design, manufacturing, distribution, testing, and sale of the
 vehicles at issue simply described the “primary business activities” of the individual parties and
 could not show a separate common purpose to establish a RICO enterprise. Shaw v. Nissan
 North America, Inc., 220 F. Supp. 3d. 1046, 1056 (C.D. Cal 2016) (citing In re Toyota Motor
 Corp. UA, 826 F. Supp. 2d 1180, 1202 (C.D. Cal 2011)). And “routine commercial
 relationships” such as those between a business and service provider like a bank or credit card
 processer also generally do not suffice to create a RICO enterprise. Gomez v. Guthy-Renker,
 LLC, No. ED CV 14-01425-JGB (KKx), 2015 WL 4270042, at *9-11 (C.D. Cal. July 13, 2015)
 (collecting cases).

         But Plaintiffs’ allegations that RICO Defendants acted together to direct business from
 Skye goes beyond ordinary business practices or contractual relationships. Plaintiffs allege that
 while Banman, Stumpe, and Seoane were still employed by Skye, Banman began to recruit
 Skye’s customers to CRM, and Stumpe and Seoane allegedly began working with Banman to
 direct business away from Skye to CTM. SAC ¶¶ 79-83; see First MTD Ord. at 4-8 (describing
 the specific acts of misappropriation and deception that Banman, Stumpe, and Seoane engaged in
 while employed by Skye).           The remaining RICO Defendant Rogers allegedly made
 misrepresentations to the Department of Veterans Affairs and to Skye in CTM’s favor to get out
 of an exclusivity contract with Skye. SAC ¶¶ 99-101; see First MTD Ord. at 8-10. The RICO
 Defendants’ conduct and their relationships with one another involve misappropriation and
 deception that harm Plaintiffs beyond the ordinary course of business for a competitor company,
 and beyond the routine contractual relationships of a business and a business’s service provider.
 The RICO common purpose here is more like that in Odom, where the Ninth Circuit affirmed an
 association-in-fact’s common purpose of “increasing the number of people using Microsoft’s
 Internet service.” Odom, 486 F.3d at 552. Thus, Plaintiffs have sufficiently stated a common

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 purpose and relationships separate from the RICO Defendants’ alleged racketeering activity of
 trade secret misappropriation and from their ordinary course of business.

         An enterprise in fact must also have “longevity sufficient to permit [defendants] to pursue
 the enterprise’s purpose.” Boyle, 556 U.S. at 946. Plaintiffs allege that the RICO Defendants’
 predicate acts took place between 2018 and 2020, during which time Skye’s revenue sharply
 declined, continuing to this day. SAC ¶¶ 75, 79-82, 98, 109-111, 119-120, 130-133. For
 example, as early as March and June 2018, Banman allegedly utilized his contact with specific
 Skye customers, Integrative Medical Solutions (“IMS”) and Dr. S.—whose identities and
 contracts constitute Skye’s trade secrets—to ask them to switch to purchasing products from
 Banman’s forthcoming company, CTM. Id. at ¶¶ 79-80. Similarly, in September 2018, Banman
 used knowledge of Skye contracts to offer a better rate to Rogers’ company, VMD, than the
 company had with Skye. Id. at ¶ 98. Additionally, Seoane’s accounts with Skye decreased by
 more than 76% between December 2019 and March 2020, giving rise to the inference that
 Seoane was diverting his accounts to Banman and CTM. Id. at ¶ 129. An “almost two-year time
 span is far more than adequate to establish that [the enterprise] functioned as a continuing unit.”
 Odom, 486 F.3d at 553. The longevity element is therefore met.

        Accordingly, Plaintiffs have alleged sufficient factual context to show the plausible
 existence of an enterprise through an association in fact.

                3.      Pattern of Racketeering Activity

         A pattern of racketeering activity “requires at least two acts of racketeering activity, one
 of which occurred after the effective date of this chapter and the last of which occurred within
 ten years.” 18 U.S.C. § 1961(5). In order to prove a pattern of racketeering activity, Plaintiffs
 must show “a relationship between the predicates and of the threat of continuing activity.”
 Howard v. American Online, Inc., 208 F.3d 741, 746 (9th Cir. 2000) (internal citation and
 quotation marks omitted). In order to prove a relationship, the predicates should “have the same
 or similar purposes, results, participants, victims, or methods of commission, or otherwise [be]
 interrelated by distinguishing characteristics and . . . not [be] isolated events.” H. J. Inc. v. Nw.
 Bell Tel. Co., 492 U.S. 229, 240 (1989).

        Plaintiffs allege that the RICO Defendants used information gained through trade secret
 misappropriation on numerous occasions, and continue to use such information, to market an
 almost-identical product and to divert business from Skye to CTM. SAC at ¶¶ 75, 82, 98, 109-
 11, 119-20, 130-13. Plaintiffs allege that Defendants used these trade secrets in order to target
 former and current Skye customers, including IMS, Riverview Hospital, VMD, and Sea Glass.

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 SAC at ¶¶ 82, 98, 109-11, 119-20, 130-33. The Court already referred to several examples
 above involving IMS, Dr. S, and VMD. Banman ultimately persuaded Rogers to sell CTM
 products, as demonstrated by Rogers’ April 12, 2019 email to Banman’s former Skye email
 address with evidence of payments from two medical centers to CTM. Id. at ¶¶ 98, 103. In
 January 2020, Stumpe sold CTM products instead of Skye products to former Skye customer
 Riverside Hospital and sent an email asking to “replace” products “with CTM.” Id. at ¶¶ 109-11.
 In June 2020, an email sent to Seoane suggested that he and a former Skye customer would have
 the opportunity to present CTM products for the purpose of the sale and promotion of CTM
 products, although Seoane still held himself out as a Skye employee. Id. at ¶¶ 133-34.

        Plaintiffs have sufficiently demonstrated the “threat of continuity” of racketeering. H.J.
 Inc., 492 U.S. at 230, 242 (emphasis omitted). Thus, Plaintiffs have alleged a pattern of
 racketeering activity in which each RICO Defendant participated.

                4.     Conduct

         The Supreme Court has held that to be liable under RICO section 1962(c), “one must
 participate in the operation or management of the enterprise itself. Reves v. Ernst & Young, 507
 U.S. 170, 185 (1993). But “lower rung participants in the enterprise who are under the direction
 of upper management” also meet this standard. Id. at 184. The Ninth Circuit has cited with
 approval MCM Partners, Inc. v. Andrews-Bartlett & Associates, Inc., 62 F.3d 967 (7th Cir.
 1995), in which the Seventh Circuit held that two contractors who “knowingly implemented
 management’s decisions, thereby enabling the enterprise to achieve its goals,” could be held
 liable under Section 1962(c) in a racketeering enterprise seeking to make the “management”
 company the “exclusive provider of forklift and material handling.” MCM Partners, 62 F.3d at
 978-79; see Walter v. Drayson, 538 F.3d 1244, 1249 (9th Cir. 2008) (“Unlike the contractors in
 MCM, [defendant] did not become a participant in directing the enterprise's affairs by knowingly
 implementing decisions of upper management.”).

         Here, Plaintiffs have adequately alleged that Banman directed the enterprise to divert
 business from Skye to CTM and that he recruited Seoane, Stumpe, and Rogers to implement his
 decisions. The SAC also adequately alleges that the RICO Defendants knew that they were
 participating in furthering a criminal enterprise with the common purpose of directing Plaintiffs’
 business to CTM, for profit, through trade secret misappropriation.




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                5.     Conspiracy to violate RICO

         “To establish a violation of section 1962(d), Plaintiffs must allege either an agreement
 that is a substantive violation of RICO or that the defendants agreed to commit, or participated
 in, a violation of two predicate offenses.” Howard v. Am. Online, Inc., 208 F. 3d 741, 751 (9th
 Cir. 2000) (citing Baumer v. Pachl, 8 F. 3d 1341, 1346 (9th Cir. 1993)). As detailed above,
 each RICO Defendant allegedly participated in trade secret misappropriation and agreed to
 participate in the enterprise with the common purpose of diverting sales from Skye to CTM.
 Thus, Plaintiffs have sufficiently pled that each RICO Defendant “adopt[ed] the goal of
 furthering or facilitating the criminal endeavor.” Salinas v. United States, 522 U.S. 52, 65
 (1997).

        Plaintiffs have thus stated claims for violation of Section 1962(c) and (d) of RICO. The
 Court DENIES the MTD as to Counts 1 and 2 for violation of RICO and conspiracy to violate
 RICO.

 B.      Breach of Fiduciary Duty

         In California, the elements of a claim for breach of fiduciary duty are: “(1) the existence
 of a fiduciary duty; (2) the breach of that duty; and (3) damage proximately caused by that
 breach.” IIG Wireless, Inc. v. Yi, 22 Cal. App. 5th 630, 646 (2018). Plaintiffs allege that as the
 Senior Vice President of Business Development, Banman owed a fiduciary duty to Skye.

         Fiduciary duties may be imposed as a matter of law, or as a matter of agreement. As a
 matter of law, officers of a company owe a fiduciary duty if the role requires participation in the
 management of the company and the exercise of some discretionary authority, but “nominal”
 officers with no management role do not have fiduciary duties. GAB Bus. Servs., Inc. v. Lindsey
 & Newsom Claim Servs., Inc., 83 Cal. App. 4th 409, 421-22 (2000), disapproved of on other
 grounds by Reeves v. Hanlon, 33 Cal. 4th 1140 (2004). An officer need not have the “ability to
 control the corporation” in order to have a fiduciary duty to the company. Id. at 419; see also
 Daniel Orifice Fitting Co. v. Whalen, 198 Cal. App. 2d 791, 794 (1962) (finding a corporate vice
 president owed a fiduciary duty to the corporation). The SAC alleges only that Banman was
 responsible for maintaining existing sales and sales growth at Skye as a senior vice president.
 Plaintiffs have alleged no other facts indicating that Banman managed Skye’s day-to-day
 operations. Moreover, in Banman’s SVP position, he “commit[ted] to offering the level [of]
 service and dedication” he did while he was a consultant for HRT from 2012 to 2017. SAC at ¶
 226; see also SAC, Ex. C at 2. That language in his Employment Agreement suggests that his
 role was more like a consultant’s than a managing officer’s, despite the officer title.

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         Because Plaintiffs rely on conclusory statements regarding Banman’s responsibilities
 while employed at Skye, Plaintiffs fail to allege the existence of a fiduciary duty owed by
 Banman to Skye. Accordingly, the MTD is GRANTED, with leave to amend, as to Count 10
 for breach of fiduciary duty.

 C.      Breach of Duty of Loyalty

         The elements of a claim for breach of a duty of loyalty are similar to a breach of fiduciary
 duty: “(1) the existence of a relationship giving rise to a duty of loyalty; (2) one or
 more breaches of that duty; and (3) damage proximately caused by that breach.” Huong Que,
 Inc. v. Luu, 150 Cal. App. 4th 400, 410 (2007).

         Defendants contend a claim for breach of duty of loyalty is duplicative of a claim for
 breach of fiduciary duty and therefore must fail if the fiduciary duty claim fails. MTD at 22
 (citing Mattel, Inc. v. MGA Entm’t, Inc., No. 04-9049 DOC (RNBx), 2011 WL 8427611, at *3
 (C.D. Cal. 2011) (“The fiduciary relationship is a prerequisite to the existence of a duty of
 loyalty.”)). The decision in Mattel is not binding on this Court, and other district courts have
 declined to follow Mattel because California law recognizes a lower bar to establish a duty of
 loyalty. See E.D.C. Techs., Inc. v. Seidel, 216 F. Supp. 3d 1012, 1016 (N.D. Cal. 2013)
 (“Although they are similar, breach of fiduciary duty and breach of the duty of loyalty are two
 distinct claims under California law.”) (internal quotation marks omitted) (collecting cases); see
 also Huong Que, Inc., 150 Cal. App. 4th at 410.

         The Court proceeds to analyze the duty of loyalty as separate from a fiduciary duty.

                1.      Existence of a Relationship

         “The duty of loyalty arises not from a contract, but from a relationship.” Id. California
 courts rely on Restatement (Third) of Agency (2006) to establish whether the relationship
 between the parties was that of a principal and agent, which would give rise to a duty of loyalty.
 Id. at 410-11. The Restatement classifies all employees as agents who “owe duties of loyalty to
 their employers.” Restatement (Third) of Agency § 1.01 (2006). The theory of agency elicits “a
 consensual relationship in which one person . . . acts as a representative of or otherwise acts on
 behalf of another person with power to affect the legal rights and duties of the other person.” Id.,
 cmt. c. There is no question that from April 2018, when Banman signed his Employment
 Agreement with Skye, to the day he resigned, Banman was an agent and employee of Skye,
 subject to the duty of loyalty. See SAC ¶ 12.


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                2.     Breach of Loyalty

         While employees may prepare to compete with their employer before resigning,
 “California law does not authorize an employee to transfer his loyalty to a competitor” during his
 employment. Fowler v. Varian Assocs., Inc., 196 Cal. App. 3d 34, 41 (1987); see also Bancroft-
 Whitley Co. v. Glen, 64 Cal. 2d 327, 346 (1966). “An employee who has any business to transact
 on his own account, similar to that intrusted to him by his employer, shall always give the
 preference to the business of the employer.” Cal. Lab. Code § 2863. “The duty of loyalty is
 breached, and the breach may give rise to a cause of action in the employer, when the employee
 takes action which is inimical to the best interests of the employer.” Huong Que, 150 Cal. App.
 4th at 414 (internal quotation marks and citation omitted).

         The SAC clearly alleges that Banman transferred his loyalty to CTM while still working
 for Skye. On June 1, 2018, before Banman resigned from his position at Skye on July 2, 2018,
 Banman incorporated Defendant CTM, purportedly naming the company as a reference to the
 acronym for “connective tissue matrix,” which is the terminology “used exclusively” by
 Plaintiffs to describe their products. SAC at ¶¶ 49, 51, 55. Plaintiffs allege that by choosing the
 name CTM for his company, Banman intended to confuse Plaintiffs’ customers into doing
 business with CTM. Id. ¶ 57. Banman did not inform Skye of his involvement with CTM until
 after his resignation. Id. at ¶ 52. Plaintiffs also allege that Banman had already begun soliciting
 and diverting Skye’s customers and otherwise utilizing Skye’s trade secrets while employed at
 Skye. Such activities also constitute a breach of the duty of loyalty. See, e.g., Huong Que, 150
 Cal. App. 4th at 417; Am. Shooting Ctr., Inc. v. Secfor Int’l, No. CV 13-1847 BTM (JMA), 2016
 WL 1182745, at *7 (S.D. Cal. Mar. 28, 2016).

         The SAC thus adequately alleges that Banman breached his duty of loyalty to Skye.

                3.     Harm

         Plaintiffs must also allege harm proximately caused by Banman’s breach of duty.
 Throughout the SAC, Plaintiffs allege loss of profits, as well as damage to its goodwill and
 reputation, through Banman’s use of the name CTM and utilization of Plaintiffs’ trade secrets in
 CTM’s business. SAC at ¶¶ 57, 236-37. Plaintiffs also point to Banman’s role in soliciting
 Skye’s salesmen, Seoane and Stumpe, whose sales declined precipitously—Seoane’s sales
 declined by 76% from December 2019 to March 2020, and Stumpe’s sales dove from $822,000
 in 2018 to “non-existent” in 2020. SAC at ¶¶ 129, 109. The reduction in sales and loss of
 goodwill and reputation would not have occurred but for Banman’s actions taken to divert



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 Skye’s business while ostensibly remaining Skye’s employee.           Plaintiffs have sufficiently
 alleged harm.

       Accordingly, the SAC states a plausible breach of duty of loyalty by Banman. The MTD
 is DENIED as to Count 11 for breach of duty of loyalty.

                                             III.
                                         CONCLUSION

         In light of the foregoing, Rogers’ and Stumpe’s motions to join are GRANTED. [Doc.
 ## 69, 71.] Defendants’ Motion to Dismiss is DENIED as to Plaintiffs’ RICO, conspiracy to
 violate RICO, and breach of duty of loyalty claims, and GRANTED, with leave to amend, as to
 Plaintiffs’ breach of fiduciary duty claim. [Doc. # 68.]

         Plaintiffs shall file their Third Amended Complaint (“TAC”), or file a notice that they do
 not intend to amend the SAC, within 15 days after the date of this Order. Defendants shall file
 their response within 21 days after the TAC is served, or within 15 days after they are notified of
 Plaintiffs’ intent to proceed on the SAC.


 IT IS SO ORDERED.




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